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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

  CENTER FOR BIOLOGICAL
  DIVERSITY, et al.,

        Plaintiffs,

  v.                                                      Case No. 1:18-cv-112 (JEB)

  GINA RAIMONDO, et al.,
                                                  JOINT MOTION TO EXTEND STAY
                                                  OF BRIEFING ON PLAINTIFFS’
        Federal Defendants,                       MOTION FOR ATTORNEYS’ FEES
                                                  AND COSTS
  and

  MAINE LOBSTERMEN’S
  ASSOCIATION, INC., et al.,

        Intervenor-Defendants.


        On June 3, 2024, Plaintiffs filed their motion for attorneys’ fees and costs. ECF No. 267.

On June 4, 2024, Plaintiffs and Federal Defendants filed a joint motion to stay briefing on

Plaintiffs’ motion to enable a litigation-free window for settlement negotiations through

September 2, 2024, ECF No. 268, a motion the Court granted by minute order the same day. On

August 29, 2024, the Court granted Plaintiffs’ and Federal Defendants’ joint motion to further

stay fee briefing until November 1, 2024. 08/92/2024 Minute Order.

        Plaintiffs and Federal Defendants have made substantial progress in settlement

discussions to resolve Plaintiffs’ fee and cost claims, but Federal Defendants require additional

time to obtain the necessary authorization from officials at the Department of Justice.

Accordingly, as set forth in the attached proposed order, Plaintiffs and Federal Defendants

respectfully ask that the Court extend the stay of briefing on Plaintiffs’ fee motion for another 40

days, through December 11, 2024.

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       An additional stay to allow the parties to discuss a settlement of Plaintiffs’ fee and costs

claims is in the interest of judicial economy and will not prejudice Plaintiffs or Federal

Defendants. If, prior to the expiration of the stay, the parties conclude that they need additional

time to discuss settlement, they will provide notice to the Court and request additional time.

Dated: October 29, 2024                Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on this 29th day of October, 2024, I served a true and correct copy of the

foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of

such upon all attorneys of record.

                                                   /s/ Taylor A. Mayhall
                                                   Attorney for Federal Defendants




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